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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                )
DONALD J. TRUMP FOR PRESIDENT,                  )
INC., et al.,                                   )
                                                )
                      Plaintiffs,               )
                                                )
       v.                                       ) Civil Action No. 2:20-cv-00966-NR
                                                )
KATHY BOOCKVAR, in her capacity as              ) Judge J. Nicholas Ranjan
Secretary of the Commonwealth of                )
Pennsylvania, et al.,                           )
                                                )
                      Defendants.               )
                                                )

            SECRETARY OF THE COMMONWEALTH KATHY BOOCKVAR’S
            NOTICE OF ACTIVITY BY SUPREME COURT OF PENNSYLVANIA


       As explained in the Secretary’s Reply in Support of Cross-Motion for Summary Judgment

(ECF No. 556), on October 4, 2020, Secretary of the Commonwealth Kathy Boockvar filed a

King’s Bench Application with the Pennsylvania Supreme Court to obtain a final ruling regarding

whether 1) the Pennsylvania Election Code requires or permits county election officials to reject

mail-in and absentee ballots based on subjective signature comparisons; and 2) whether absentee

and mail-in ballots and the applications for those ballots may be challenged by third parties based

on signature comparisons. See Secy.’s Suppl. App. Ex. 38 (ECF No. 557-1).

       As set forth in the attached Exhibit A, the Pennsylvania Supreme Court has requested that

any responsive briefs to the Secretary’s application be filed no later than 12:00 p.m. tomorrow,

October 7, 2020. See Ex. A, Oct. 6, 2020 Letter from Office of Prothonotary to Counsel, In re

Nov. 3, 2020 Gen. Election, No. 149 MM 2020.
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Dated: October 6, 2020                 Respectfully submitted,

                                       PENNSYLVANIA OFFICE OF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties who have appeared in this action via the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                                /s/ Daniel T. Donovan
                                                Daniel T. Donovan

                                                Counsel for Kathy Boockvar
                                                Secretary of the Commonwealth of
                                                Pennsylvania
